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                        EXHIBIT D
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13
     (To Defendant’s Notice of Motion and Motion for
14
                Reconsideration of Bail)
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16     In The Matter Of The Extradition Of Dawid
17
       Tomasz Wozniak To The Republic Of Poland
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                    2:229-mj-00028-KNJ-1
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